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 4                             UNITED STATES DISTRICT COURT

 5                          EASTERN DISTRICT OF WASHINGTON
 6 ERIKA MICHELLE WOODS,
                                                       No.       2:13-CR-0008-WFN-40
 7                  Movant,
                                                       ORDER DENYING § 2255 MOTION
 8         -vs-
 9 UNITED STATES OF AMERICA,
10                            Respondent.
11
12         Before the Court is Movant's 28 U.S.C. § 2255 Motion to Vacate, Set Aside or
13   Correct Sentence. (ECF No. 4170). The Motion is submitted by Erika Woods, who is
14   appearing pro se in these proceedings. On September 15, 2016, the Court issued an order
15   requesting that Ms. Woods file additional briefing to clarify her § 2255 Motion as well as
16   justify timely filing. Ms. Woods has not filed any additional briefing.
17         The statute establishes a one year period of limitation for filing a § 2255 motion
18   which runs from the latest of
19        (1) the date on which the judgment of conviction becomes final;
20        (2) the date on which the impediment to making a motion created by
          governmental action in violation of the Constitution or laws of the United
21        States is removed, if the movant was prevented from making a motion by such
          governmental action;
22        (3) the date on which the right asserted was initially recognized by the
23        Supreme Court, if that right has been newly recognized by the Supreme Court
          and made retroactively applicable to cases on collateral review; or
24        (4) the date on which the facts supporting the claim or claims presented could
25        have been discovered through the exercise of due diligence.
26   28 U.S.C. § 2255(f) (West 2013). The Motion is untimely because the Motion was filed
27   more than a year after the day that the judgment became final, none of the other three
28   conditions listed in the statute are applicable, and Ms. Woods has not indicated that


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 1   (1) facts exist that would extend the one year period of limitation; or (2) extraordinary
 2   circumstances exist which require equitable tolling of the period of limitation. Further,
 3   Ms. Woods has not clarified her initial filing. The Court has reviewed the file and
 4   Movant's Motion and is fully informed. Accordingly,
 5              IT IS ORDERED that Ms. Woods' Motion to Vacate, Set Aside or Correct
 6   Sentence by a Person in Federal Custody Pursuant to 28 U.S.C. § 2255, filed August 30,
 7   2016, ECF No. 4170, is DENIED.
 8              The District Court Executive is directed to file this Order and provide a copy to pro
 9   se Movant, and close this file and the corresponding civil case, 2:16-CV-0309-WFN.
10              DATED this 22nd day of November, 2016.
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12                                                   s/ Wm. Fremming Nielsen
13                                                     WM. FREMMING NIELSEN
     11-21-16                                   SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER DENYING § 2255 MOTION - 2
